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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF INDIANA
                                 HAMMOND DIVISION


 STEFEN RICE,                                  )
                                               )
                        Movant,                )
                                               )
        v.                                     )      Cause No. 2:10CV470-PPS
                                               )      Arising from 2:08CR2-PPS
 UNITED STATES OF AMERICA,                     )
                                               )
                        Respondent.            )


                                     OPINION AND ORDER


        On September 3, 2008, Stefen Rice pled guilty to three offenses charged in a multi-

 defendant fifteen-count indictment:

 •      Count 8, charging the armed bank robbery of the Citizen’s Financial Services Bank in
        Munster, Indiana on November 9, 2007, in violation of 18 U.S.C. §2113(a) and (d);

 •      Count 9, charging the use of a firearm during and in relation to the November 9 Citizen’s
        Bank robbery, in violation of 18 U.S.C. §924(c); and

 •      Count 15, charging the bank robbery of LaPorte Community Federal Credit Union in
        Michigan City, Indiana on March 25, 2008, in violation of 18 U.S.C. §2113(a).

 Rice was later sentenced to 46 months’ imprisonment on the two bank robbery counts, and a

 consecutive 84 months’ imprisonment for the use of the firearm, for an aggregate prison term of

 130 months. Rice has now filed a motion to correct his sentence under 28 U.S.C. §2255 [DE

 327 in Cause No. 2:08CR2-PPS] and a later motion to amend [DE 335] seeking leave to add an

 additional ground for relief. After reviewing the petition, I ordered a response from the

 government. [DE 328].
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        Rice’s §2255 motion asserts four claims of ineffective assistance of counsel. The first

 ground for relief is that Rice’s trial counsel was ineffective for inducing Rice to plead guilty by

 telling him he would otherwise likely face a prison term of 35 years. The second ground alleges

 ineffective assistance for counsel’s failure to “object to the 924(c) enhancement as requested.”

 [DE 327, p.4.] In his third ground for relief, Rice contends that his trial counsel was ineffective

 because he failed to explain the appeal waiver provision in the plea agreement and later told Rice

 he would file a direct appeal to “challenge the enhancement pursuant to 924(c)” but failed to do

 so. Id. The fourth ground alleges that Rice’s appellate counsel was ineffective because he

 “misadvised petitioner to withdraw his direct appeal” rather than followed the dictates of Anders

 v. California, 386 U.S. 738 (1967). After the government’s response, Rice filed his motion

 seeking leave to add a fifth ground for relief, namely a claim of actual innocence of the charge

 under §924(c).

        One of the terms of Rice’s plea agreement is an express waiver of his right to file a §2255

 motion. The waiver states:

                  . . . I expressly waive my right to appeal or to contest my
                  conviction and my sentence . . . to any Court on any ground,
                  including any claim of ineffective assistance of counsel unless the
                  claimed ineffective assistance of counsel relates directly to this
                  waiver or its negotiation, including any appeal under Title 18,
                  United States Code, Section 3742 or any post-conviction
                  proceeding, including but not limited to, a proceeding under Title
                  28, United States Code, Section 2255.

 [DE 143, ¶7(f)]. At the change of plea hearing, the terms of the plea waiver were carefully

 explained to Rice and he acknowledged his understanding and agreement. Rice indicated he

 understood the impact of the waiver. The transcript of the hearing, which also involved a co-

 defendant named James, contains this colloquy:

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                THE COURT: And so, let’s say, Mr. James, we go to sentencing, and I do
        something that completely surprises you and makes you very unhappy. You
        know, ordinarily you could appeal that decision to a higher court. But under the
        terms of this plea agreement, you’re expressly waiving, meaning you’re giving up
        your right to do that....
                THE COURT: Mr, Rice, do you understand that?
                DEFENDANT RICE: Yes, sir.
                THE COURT: Now these waivers also include a waiver of your rights to
        later challenge these proceedings in what is known as a collateral attack on these
        proceedings.
                I’m going to give you an example of that because it’s not easy to
        understand.
                When somebody is convicted of a crime, after they have exhausted their
        appeals, they have a right to come back to the court where they were convicted
        and try to get their conviction thrown out if they are able to demonstrate, for
        example, that they received ineffective assistance of counsel, that they got poor
        advice from their lawyers. That’s a right that defendants have.
                You understand that, Mr. James?
                DEFENDANT JAMES: Yes, sir.
                THE COURT: Mr. Rice.
                DEFENDANT RICE: Yes, sir.
                THE COURT: But again, under the terms of these plea agreements, both
        of you are expressly waiving, meaning you’re giving up your right to later
        challenge these proceedings on any grounds. And so, with few exceptions, once I
        sentence you two, this case is over. And you’re not – nobody else is going to
        review it....
                THE COURT: Mr. Rice, do you understand that?
                DEFENDANT RICE: Yes, sir.
                THE COURT: All right. These are important rights that you’re waiving.
        So, I want to ask both (sic) you....
                Mr. Rice, how about you, are you giving up your right to appeal and to
        collaterally attack these proceedings? Are you doing that knowingly and
        voluntarily?
                DEFENDANT RICE: Yes, sir.
                THE COURT: Is anybody forcing you to do it in any way, shape or form,
        Mr. Rice?
                DEFENDANT RICE: No, sir.

 DE 277, pp. 21-23. The government invokes Rice’s waiver in its response brief [DE 329], and

 Rice has filed no reply to the government’s memorandum.




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        In entering his guilty plea, Rice expressly waived the right to contest his sentence “on

 any ground” by way of a §2255 motion, “unless the claimed ineffective assistance of counsel

 relates directly to this waiver or its negotiation.” [DE 143, ¶7(f)]. A waiver of the right to seek

 relief pursuant to §2255 in a written plea agreement is valid and enforceable absent a claim that

 the waiver was not knowing and voluntary or that counsel was ineffective in connection with the

 negotiation of the waiver itself. See United States v. Rhodes, 330 F.3d 949, 952 (7th Cir. 2003);

 Mason v. United States, 211 F.3d 1065, 1068 (7th Cir. 2000); Jones v. United States, 167 F.3d

 1142, 1145 (7th Cir. 1999).

        Only one portion of Rice’s five asserted grounds for relief could conceivably constitute a

 claim of ineffective assistance in connection with the waiver or its negotiation. This is ground

 three, in which Rice contends that his attorney failed to explain to him the waiver provision of

 the plea agreement. But as a claim of ineffective assistance of counsel, this allegation cannot

 entitle Rice to any relief. “To succeed on a claim of ineffective assistance, a prisoner must prove

 (1) his attorney's performance fell below an objective standard of reasonableness, and (2) he

 suffered prejudice as a result.” Wyatt v. United States, 574 F.3d 455, 458 (7th Cir. 2009) (citing

 Strickland v. Washington, 466 U.S. 668, 687-88, 693 (1984)). Even assuming that Rice’s

 attorney totally failed to counsel him about the waiver, and that doing so constitutes objectively

 unreasonable performance, the record conclusively establishes that Rice suffered no prejudice.

        To meet the prejudice prong, “the defendant must show that there is a reasonable

 probability that, but for counsel's errors, he would not have pleaded guilty and would have

 insisted on going to trial.” Hill v. Lockhart, 474 U.S. 52, 59 (1985). Here the plea colloquy

 quoted at length above demonstrates that, whether or not the waiver provision was explained to


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 him by counsel, Rice was fully aware of and understood the waiver provision by the time he

 stood in front of the court and chose to enter his plea of guilty. Rice cannot now claim that he

 would not have pleaded guilty if the waiver provision had been explained to him, because it had

 in fact been reviewed with him in some detail during the hearing prior to the point at which he

 formally stated his intention to plead guilty to the three charges. See, e.g., United States v.

 Martinez, 169 F.3d 1049, 1054 (7th Cir. 1999) (counsel’s deficient advice does not support §2255

 relief where judge conveyed the correct information and advice at the plea hearing). The related

 ineffective assistance of counsel claim is without merit.

        None of Rice’s other grounds for relief relate to the waiver provision, and all of them

 were therefore waived when Rice knowingly and voluntarily entered into the plea agreement

 containing the waiver provision. This conclusion applies to the other ineffective assistance of

 counsel claims, and to the late-blooming actual innocence claim, which I will grant Rice leave to

 assert. Upon careful consideration of the record, including as necessary the underlying criminal

 file, I am convinced that the record of the case conclusively shows that movant is not entitled to

 relief on any of the five grounds he asserts.

        ACCORDINGLY:

        Stefen Rice’s motion for leave of court to amend §2255 motion [DE 335] is

 GRANTED.

        Stefen Rice’s motion pursuant to 28 U.S.C. §2255 [DE 327] to vacate, set aside or

 correct sentence is DENIED and DISMISSED WITH PREJUDICE.

        The Clerk shall enter final judgment accordingly.

        SO ORDERED.


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       ENTERED: July 18, 2011

                                    s/ Philip P. Simon
                                    CHIEF JUDGE
                                    UNITED STATES DISTRICT COURT




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